                  1   KARIN G. PAGNANELLI (SBN 174763), kgp@msk.com
                      MARC E. MAYER (SBN 190969), mem@msk.com
                  2   MARK C. HUMPHREY (SBN 291718); mxh@msk.com
                      MITCHELL SILBERBERG & KNUPP LLP
                  3   2049 Century Park East, 18th Floor
                      Los Angeles, CA 90067-3120
                  4   Telephone: (310) 312-2000
                      Facsimile: (310) 312-3100
                  5
                      Attorneys for Plaintiff
                  6   Take Two Interactive Software, Inc.

                  7

                  8                               UNITED STATES DISTRICT COURT

                  9                              NORTHERN DISTRICT OF CALIFORNIA

                 10                                   SAN FRANCISCO DIVISION

                 11   TAKE-TWO INTERACTIVE SOFTWARE,                   CASE NO. 3:21-CV-6831-TSH
                      INC.,
                 12                                                    [Magistrate Judge Thomas S. Hixson]
                                    Plaintiff,
                 13                                                    NOTICE OF APPEARANCE OF MARK
                             v.                                        C. HUMPHREY ON BEHALF OF
                 14                                                    PLAINTIFF TAKE-TWO INTERACTIVE
                      ANGELO PAPENHOFF, a/k/a AAP, an                  SOFTWARE, INC.
                 15   individual; THEO MORRA, an individual;
                      ERAY ORÇUNUS, an individual; ADRIAN
                 16   GRABER, an individual; DOE 1 a/k/a ASH R.
                      and ASH_735, an individual; and DOES 2
                 17   through 10, inclusive,

                 18                 Defendants.

                 19

                 20

                 21

                 22

                 23

                 24

                 25

                 26

                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                                           CASE NO. 3:21-cv-6831
13483713.1
                                                            NOTICE OF APPEARANCE
                  1   TO THE HONORABLE COURT AND ALL COUNSEL OF RECORD:

                  2          PLEASE TAKE NOTICE that Mark C. Humphrey of Mitchell Silberberg & Knupp, LLP

                  3   hereby enters an appearance as counsel for Take-Two Interactive Software, Inc. in the above-

                  4   referenced action.

                  5       Mark C. Humphrey
                          Mitchell Silberberg & Knupp LLP
                  6       2049 Century Park East, 18th Floor
                          Los Angeles, CA 90067-3120
                  7       Telephone: (310) 312-2000
                          Facsimile: (310) 312-3100
                  8       mxh@msk.com
                  9

                 10   DATED: September 16, 2021                   RESPECTFULLY SUBMITTED,
                 11                                               KARIN G. PAGNANELLI
                                                                  MARC E. MAYER
                 12                                               MARK C. HUMPHREY
                                                                  MITCHELL SILBERBERG & KNUPP LLP
                 13

                 14
                                                                  By: /s/ Mark C. Humphrey
                 15                                                   Mark C. Humphrey
                                                                      Attorneys for Plaintiff
                 16                                                   Take-Two Interactive Software, Inc.
                 17

                 18

                 19

                 20

                 21

                 22

                 23

                 24

                 25

                 26

                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                     2                        CASE NO. 3:21-cv-6831
13483713.1
                                                         NOTICE OF APPEARANCE
